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 B R E T T J. WI L LI A M S O N ( S. B. # 1 4 5 2 3 5)
 b willi a ms o n @ o m m. c o m
 O’ M E L V E N Y & M Y E R S L L P
 6 1 0 N e w p ort C e nt er Dri v e, 1 7t h Fl o or
 N e w p ort B e a c h, C alif or ni a 9 2 6 6 0- 9 4 2 9
 T el e p h o n e: + 1 9 4 9 8 2 3 6 9 0 0

                                                             U NI T E D S T A T E S DI S T RI C T C O U R T
                                                           C E N T R A L DI S T RI C T O F C A LI F O R NI A
C O R E L O GI C, I N C., a D el a w ar e c or p or ati o n,                                         C ASE N U M BE R
J o h n D o es I- X,
                                                                                                          C as e N o. 8: 1 9- 0 3 2 4- D O C- K E S
                                                                                Pl ai ntiff(s),
                                                  v.
                                                                                                                 N O TI C E O F DI S MI S S A L P U R S U A N T
                                                                                                                    T O F E D E R A L R U L E S O F CI VI L
                                                                                                                         P R O C E D U R E 4 1( a) o r ( c)
                                                                            D ef e n d a nt(s).

P L E A S E T A K E N O TI C E: ( C h e c k o n e )

        G✔      T his a cti o n is dis miss e d b y t h e Pl ai ntiff(s) i n its e ntir et y.

        G✔      T h e C o u nt er cl ai m br o u g ht b y Cl ai m a nt(s)                                                                                                       is
                dis miss e d b y Cl ai m a nt(s) i n its e ntir et y.

        G✔      T h e Cr oss- Cl ai m br o u g ht b y Cl ai m a nts(s)                                                                                                          is
                dis miss e d b y t h e Cl ai m a nt(s) i n its e ntir et y.

        G✔      T h e T hir d- p art y Cl ai m br o u g ht b y Cl ai m a nt(s)                                                                                                  is
                dis miss e d b y t h e Cl ai m a nt(s) i n its e ntir et y.

        G✔      O NL Y       D ef e n d a nt(s)

                is/ ar e dis miss e d fr o m (c h e c k o n e ) G✔        C o m pl ai nt, G✔      C o u nt er cl ai m, G✔   Cr oss- cl ai m, G✔     T hir d- P art y Cl ai m
                br o u g ht b y                                                                                                                                                 .

        T h e dis miss al is m a d e p urs u a nt t o F. R. Ci v. P. 4 1( a) or ( c).




        8/ 2 1/ 2 0 1 9                                                         /s/ Br ett J. Willi a ms o n
                            D at e                                                                   Si g n at ur e of Att or n e y/ P art y




N O T E: F. R. Ci v. P. 4 1( a): T his n oti c e m a y b e fil e d at a n y ti m e b ef or e s er vi c e b y t h e a d v ers e p art y of a n a ns w er or of a m oti o n f or
         s u m m ar y j u d g m e nt, w hi c h e v er first o c c urs.

                F. R. Ci v. P. 4 1( c): C o u nt er cl ai ms, cr oss- cl ai ms & t hir d- p art y cl ai ms m a y b e dis miss e d b ef or e s er vi c e of a r es p o nsi v e
                pl e a di n g or pri or t o t h e b e gi n ni n g of tri al.



C V- 0 9 ( 0 3/ 1 0)                 N O TI C E O F DI S MI S S A L P U R S U A N T T O F E D E R A L R U L E S O F CI VI L P R O C E D U R E 4 1( a) o r ( c)
